     Case 2:20-cv-00063-RFB-DJA Document 12 Filed 10/20/20 Page 1 of 1




 1

 2
                                  UNITED STATES DISTRICT COURT
 3
                                          DISTRICT OF NEVADA
 4
                                                       ***
 5
      JEFFREY FRANKLIN,                                  Case No. 2:20-cv-00063-RFB-DJA
 6
                                         Plaintiff,      ORDER EXTENDING STAY
 7
                     v.
 8
      HERNANDEZ, et al.,
 9
                                      Defendants.
10

11
            This case was referred to the District Court’s Inmate Early Mediation Program (“IEM”)
12
     on September 23, 2020. ECF 10. The case was stayed for ninety (90) days to December 22,
13
     2020, to allow the Plaintiff and Defendants an opportunity to settle their dispute. Due to the
14
     pandemic, the mediation session with a court-appointed mediator cannot and will not be held
15
     before the stay expires. The Court now extends the stay until three days after the scheduled IEM,
16
     currently set for January 8, 2021, at 1:30 p.m. The status report is also due on that date. During
17
     this stay period and until the Court lifts the stay, no other pleadings or papers may be filed in this
18
     case, and the parties may not engage in any discovery, nor are the parties required to respond to
19
     any paper filed in violation of the stay unless specifically ordered by the Court to do so.
20
            For the foregoing reasons, it is ordered that the stay is extended until three days after the
21
     IEM. The Office of the Attorney General will file the report form regarding the results of the stay
22
     by that date.
23
            IT IS SO ORDERED.
24                      20th
            DATED this                       day of October 2020.
25

26

27                                                    DANIEL J. ALBREGTS
                                                      UNITED STATES MAGISTRATE JUDGE
28
